EXHIBIT U
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 2

 3

 4

 5

 6

 7             SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8
     BLC WATER COMPANY, LLC, INDIANA
 9   WATER TECHNOLOGY, LLC,               No. 24-2-20247-1 SEA
     COLEWSTECH, LLC, RCWSTECH 1157,
10   LLC, ROYAL RESERVOIRS, LLC,          SUBPOENA DUCES TECUM
     CHAURISHI RETAIL ENTERPRISES, LLC,
11   KDAWG CRYPTO, LLC, PACIFIC WATER     RELATED CASES:
     TECHNOLOGY, LLC, KWANSOO LEE,
12   DDS, PLLC, KWANSOO LEE, BRIAN CHU,   No. 24-2-12567-1 SEA
     BRIAN CHU DDS, INC., LARINA CHU,     No. 24-2-19871-7 SEA
13   LAURINA CHU DDS, INC., BRIAN AND     No. 24-2-10753-3 SEA
     LAURINA CHU DDS, INC., DAVID         No. 24-2-08418-5 SEA
14   SCHROEDER, SARAH SCHROEDER, RON
     COLE, KAREN LAVIN, BASANT KUMAR,
15   DEREN FLESHER, TYLER SADEK,
     NATALIE SADEK, AND FOUNDERS
16   MOSAIC PARTNERS, LLC,
17             Plaintiffs,
18        v.
19   FIRST FED BANK, FIRST NORTHWEST
     BANCORP, NORMAN TONINA, CRAIG
20   CURTIS, JENNIFER ZACCARDO, CINDY
     FINNIE, DANA BEHAR, MATTHEW
21   DEINES, SHERILYN ANDERSON,
     GABRIEL GALANDA, LYNN
22   TERWOERDS, JOHN DOES 1-10,
23             Defendants.
24
25

                                                                 CORR CRONIN LLP
       SUBPOENA DUCES TECUM – 1                             1015 Second Avenue, Floor 10
                                                           Seattle, Washington 98104-1001
                                                                  Tel (206) 625-8600
                                                                  Fax (206) 625-0900
 1

 2   TO:     KASI O’LEARY
             220 VERT RD #222
 3           PORT ANGELES, WA 98363
 4
          YOU ARE COMMANDED to appear at the place, date, and time specified below to testify
 5   at the taking of a deposition in the above case.

 6         PLACE OF DEPOSITION                       DATE AND TIME
           1015 Second Avenue, 10th Floor
 7                                                   October 25, 2024 at 10:00 a.m. (PST)
           Seattle, WA 98104                         METHOD OF RECORDING
           (or other agreed location)
 8                                                   Video/Stenograph
 9
         YOU ARE COMMANDED to produce and permit inspection and copying of the following
10   documents or tangible things at the place, date, and time specified below (list documents or
     objects):
11
             See Exhibit/Attachment A
12
           PLACE                                     DATE AND TIME
13
           Corr Cronin LLP                           October 18, 2024 by 5:00 p.m. (PST)
14         1015 Second Avenue, Floor 10
           Seattle, WA 98104-1001
15
           Electronically to:
16
           jbender@corrcronin.com,
17         slarussa@corrcronin.com

18         ISSUING OFFICER SIGNATURE AND TITLE                          DATE
19         CORR CRONIN LLP
                                                     September 7, 2024
20

21         s/John T. Bender
           John T. Bender, WSBA No. 49658
22

23     ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER
       John T. Bender, WSBA No. 49658
24     CORR CRONIN LLP
       1015 Second Avenue, Floor 10
25

                                                                              CORR CRONIN LLP
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                                                                                Fax (206) 625-0900
 1       Seattle, WA 98104-1001
         Telephone: 206-625-8600
 2       jbender@corrcronin.com
                                               PROOF OF SERVICE
 3
         DATE                                                     PLACE SERVED
 4

 5    SERVED ON (PRINT NAME)                                      MANNER OF SERVICE

 6
      SERVED BY (PRINT NAME)                                      TITLE
 7

 8
                                          DECLARATION OF SERVER
 9    I declare under penalty of perjury under the laws of the State of Washington that the foregoing
      information contained in the Proof of Service is true and correct.
10
      DATE/PLACE                                                  SIGNATURE OF SERVER
11
      Executed on:
12
                                                                  ADDRESS OF SERVER
13

14

15

16   CR 45, Sections (c) & (d):

17   (c) Protection of Persons Subject to Subpoenas.

18   (1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasonable
     steps to avoid imposing undue burden or expense on a person subject to that subpoena. The court shall
19   enforce this duty and impose upon the party or attorney in breach of this duty an appropriate sanction,
     which may include, but is not limited to, lost earnings and a reasonable attorney’s fee.
20
     (2)(A) A person commanded to produce and permit inspection and copying of designated books, papers,
21   documents or tangible things, or inspection of premises need not appear in person at the place of
     production or inspection unless commanded to appear for deposition, hearing or trial.
22
       (B) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection and
23   copying may, within 14 days after service of subpoena or before the time specified for compliance if such
     time is less than 14 days after service, serve upon the party or attorney designated in the subpoena written
24   objection to inspection or copying of any or all of the designated materials or of the premises. If objection
     is made, the party serving the subpoena shall not be entitled to inspect and copy the materials or inspect
25   the premises except pursuant to an order of the court by which the subpoena was issued. If objection has


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 1   been made, the party serving the subpoena may, upon notice to the person commanded to produce and
     all other parties, move at any time for an order to compel the production. Such an order to compel
 2   production shall protect any person who is not a party or an officer of a party from significant expense
     resulting from the inspection and copying commanded.
 3
     (3)(A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena
 4   if it:
               (i) fails to allow reasonable time for compliance;
 5             (ii) fails to comply with RCW 5.56.010 or subsection (e)(2) of this rule;
               (iii) requires disclosure of privileged or other protected matter and no exception or waiver
 6   applies; or
               (iv) subjects a person to undue burden, provided that, the court may condition denial of the
 7   motion upon a requirement that the subpoenaing party advance the reasonable cost of producing the
     books, papers, documents, or tangible things.
 8

 9    (B) If a subpoena
               (i) requires disclosure of a trade secret or other confidential research, development, or
10      commercial information, or
               (ii) requires disclosure of an unretained expert’s opinion or information not describing specific
11      events or occurrences in dispute and resulting from the expert’s study made not at the request of any
        party, the court may, to protect a person subject to or affected by the subpoena, quash or modify the
12      subpoena or, if the party in whose behalf the subpoena is issued shows a substantial need for the
        testimony or material that cannot be otherwise met without undue hardship and assures that the
13      person to whom the subpoena is addressed will be reasonably compensated, the court may order
        appearance or production only upon specified conditions.
14
     (d) Duties in Responding to Subpoena.
15
     (1)        A person responding to a subpoena to produce documents shall produce them as they are kept
16   in the usual course of business or shall organize and label them to correspond with the categories in the
     demand.
17
     (2)(A) When information subject to a subpoena is withheld on a claim that it is privileged or subject to
18   protection as trial preparation materials, the claim shall be made expressly and shall be supported by a
     description of the nature of the documents, communications, or things not produced that is sufficient to
19   enable the demanding party to contest the claim.

20   (B) If information produced in response to a subpoena is subject to a claim of privilege or of protection
     as trial-preparation material, the person making the claim may notify any party that received the
21   information of the claim and the basis for it. After being notified, a party must promptly return, sequester,
     or destroy the specified information and any copies it has; must not use or disclose the information until
22   the claim is resolved; must take reasonable steps to retrieve the information if the party disclosed it before
     being notified; and may promptly present the information in camera to the court for a determination of
23   the claim. The person responding to the subpoena must preserve the information until the claim is
     resolved.
24
25

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 1

 2                                            EXHIBIT A
                                            INSTRUCTIONS
 3
            1.      For the below Requests, you are to produce all documents in your possession,
 4
     custody or control, including, without limitation, documents in storage and documents held by
 5
     agents, attorneys, or other persons on your behalf and subject to your control. In case of any
 6
     ambiguity as to whether a document is called for by the Requests contained herein, such
 7
     document is to be produced.
 8
            2.      If in responding to these Requests you encounter any ambiguities construing
 9
     either a question, instruction, or definition, set forth the matter deemed ambiguous and the
10
     construction used in responding.
11
            3.      If an objection is stated with respect to a portion of a Request, the remaining
12
     portion of the Request is to be responded to notwithstanding the objection. If you object to the
13
     scope or time period of a Request, the objection is to be stated and the Request responded to
14
     for the scope and time period which you believe is appropriate.
15
            4.      If any Request cannot be responded to in full after exercising due diligence to
16
     secure the information or documents, you are to so state and respond to the extent possible,
17
     specifying your inability to respond. If for any reason a response is qualified, you shall set forth
18
     the details of such qualification.
19
            5.      If you withhold any document or information based on the attorney-client
20
     privilege, the attorney work-product immunity, or any other privilege or immunity, you must
21
     identify the document or information withheld and provide the following information: (i) a
22
     description of the document or information, including the nature of the document or information
23
     (e.g., email, letter, or database); (ii) the author(s) and/or creator(s) of the document or
24
     information; (iii) the recipient(s) or addressee(s) of the document or information; (iv) the date
25

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 1
     of the document or information; (v) the subject matter of the document or information; (vi) the
 2
     nature of all privileges or immunities claimed; and (vii) all such additional information as is
 3
     necessary for Plaintiffs to understand and challenge the withholding of the document or
 4
     information, as appropriate.
 5
             6.      These Requests are intended to cover all information and documents in your
 6
     possession, custody or control. If any document described in the Requests or responses thereto
 7
     was, but no longer is, in your possession, custody or control, or in existence, state whether:
 8
             a.      It is missing or lost;
 9
             b.      It has been destroyed;
10
             c.      It has been transferred, voluntarily or involuntarily, to others;
11
             d.      It has been disposed of otherwise.
12
             7.      In each instance identified in response to Instruction No. 6 above, explain the
13
     circumstances surrounding such disposition and identify the person(s) directing or authorizing
14
     same, and the date(s) thereof, including but not limited to a copy of the document retention
15
     policy. Identify each document by listing its author, the author’s address, type of document,
16
     date, subject matter, present location(s) and custodian(s), and state whether the document (or
17
     copies) are still in existence.
18
             8.      If the requested document is known to exist, but you do not possess or have
19
     custody or control over the document, it shall be so indicated along with the name of the person
20
     who has possession, custody or control of the document.
21
             9.      The relevant time period for these Requests is January 1, 2018 to the present,
22
     unless otherwise indicated in or by the context of a particular Request.
23

24
25

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 1
            10.        You are required to produce the requested documents in such manner as will
 2
     facilitate their identification with the particular Request or category of Requests to which they
 3
     are responsive.
 4
            11.        These Requests include within their scope electronically stored information,
 5
     including all data stored, available from, or maintained by electronic means, including: any
 6
     electronic/computer media, including, but not limited to, stand-alone computers, laptops,
 7
     document management systems, networks, on-site servers, cloud storage, project management
 8
     platforms, such as Slack or SmartSheet, messaging platforms, such as Microsoft Teams or
 9
     iMessage, virtual meeting platforms, such as Zoom Video or Cisco Web-Ex, voice mail
10
     systems, social media accounts, cell phones, tablets or other similar handheld digital devices.
11
     You have an obligation to preserve and protect all such information for purposes of this
12
     litigation. You are, therefore, instructed to do the following:
13
            a.         Do not initiate any procedures that would alter any active, deleted, or fragmented
14                     files that might be relevant to this litigation;

15          b.         Immediately cease any over-writing, alteration, deletion, or destruction of
                       electronic media that may result in the alteration or loss of any electronically
16                     stored information, including any document retention or destruction policies you
                       would normally follow in the ordinary course of business;
17
            c.         Do not dispose of any electronic media storage device that may contain
18                     electronically stored information that might be relevant to this litigation;
19          d.         E-mails and other electronic Documents may appear to have been “deleted”
                       from a desktop or other computer device; however, they are not necessarily
20                     irretrievable. Therefore, you should search for evidence on hard drives,
                       networks, backup tapes, or wherever else data may be stored.
21
            12.        Deliver each document produced in response to these Requests contained herein
22
     in a manner that preserves its sequential relationship with other documents being produced,
23
     including the file folder and folder tab associated with its file location, and if not apparent on
24
     the folder or tab, accompanied by identification of the person or location from which the files
25

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 1
     were taken and such additional source information as is necessary to enable the parties to
 2
     determine the document’s original pre-production location. E-mails and other electronic
 3
     documents should be produced as single-page TIFF images with companion text files. The
 4
     images should be unitized by each individual logical document, endorsed with a sequential
 5
     alphanumeric Bates number (e.g. ABC000001), and named to correspond to the Bates number
 6
     endorsement on the first page of the document (e.g. ABC000001.txt). To the extent practicable,
 7
     each individual document and communication based on an electronic file should be
 8
     accompanied by a corresponding text file containing the searchable text for the document. The
 9
     text file should be named to correspond to the Bates number endorsement on the first page of
10
     the document or communication (e.g. ABC000001.txt). In addition to the extracted text files,
11
     all productions should include a load file for Relativity with DAT and Opticon files that include
12
     the following metadata fields:
13
             Field                        Description/Example
14
             BegBates                     ABC0000001
15           EndBates                     ABC0000002
             BegAttach                    ABC0000001
16           EndAttach                    ABC0000004
             Custodian                    Last Name, First Name
17           From                         Address(es) of sender
18           To                           Address(es) of recipients
             CC                           Address(es) of copied recipients
19           BCC                          Address(es) of blind copied recipients
             Subject-Email                Subject line of the email
20           FileName                     Name of the original native file, including extension
21           DateSent                     Date the email was sent
             TimeSent                     Time the email was sent
22           DateReceived                 Date the email was received
             TimeReceived                 Time the email was received
23           TimeZone Processed           The time zone in which the emails were standardized
24                                        during conversion
             FileExtension                The file type extension representing the Email or
25                                        native file document

                                                                                  CORR CRONIN LLP
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 1            Field                        Description/Example
              Author                       Author of the document
 2
              DateCreated                  Date the document was created
 3            TimeCreated                  Time the document was created
              DateLastModified             Date the document was last modified
 4            TimeLastModified             Time the document was last modified
              DateLastAccessed             Date the document was last accessed
 5
              TimeLastAccessed             Time the document was last accessed
 6            PageCount                    Number of pages in document/file
              InternalFilePath             Original location of email including original file
 7            MessageID (INTMSGID)         Unique Message ID
 8            MD5Hash                      MD5 Hash value of the document.
              TextPath                     Path to extracted text file associated with the
 9            NativeLink/FilePath          Path to the native file (if applicable)
10
     Native File Productions: When producing files that cannot be imaged such as Microsoft Excel
11

12   or other spreadsheet files, it is preferred that these are produced in their native format, but

13   should include a TIFF image as a placeholder for the file to represent the file in the production

14   set. The TIFF image placeholder for a native file should be branded with a unique Bates
15   number and state "Document Produced in Native Format" on the TIFF image. The native file
16
     should then be renamed to match the Bates number assigned to the document with its original
17
     file extension. The filename field produced in the production load file that reflects the original
18
     metadata should maintain the original file name.
19

20                                            DEFINITIONS
            1.      The term “Wear” refers to Ryan Wear and/or the business known as
21
     “WaterStation Technology,” and any of its present and former affiliates, subsidiaries, agents,
22
     employees, servants, attorneys, representatives, and any and all persons acting or who have
23
     acted for or on their behalf, including, without limitation, Kevin Nooney or Larry Houk.
24
            2.      The terms “you,” and “your,” refer to the addressee, Kasi O’Leary.
25

                                                                                    CORR CRONIN LLP
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                                                                                      Fax (206) 625-0900
 1
            3.       The term “document” has the full meaning ascribed to it in CR 34, including the
 2
     original (and every cop of the original which differs in any way from it) of all written, recorded,
 3
     or graphic matter in any and all media however produced or reproduced, including but not
 4
     limited to any handwriting, typewriting, printing, photographing and every other means of
 5
     recording upon any tangible thing any form of communication or representation, including
 6
     electronic records, e-mails, letters, words, pictures, sounds, symbols or combinations thereof.
 7
            4.       The term “communication” is used in its broadest sense and shall mean the
 8
     transmission, sending, and/or receipt of information of any kind by and/or through any means,
 9
     whether face-to-face or otherwise, including, but not limited to, speech, writings, language
10
     (machine, foreign, or otherwise), computer electronics of any kind (including e-mail), magnetic
11
     tape, video tape, photographs, graphs, symbols, signs, magnetic disks, sound, radio, and/or
12
     video signal, telephone, teletype, telecommunication, telegram, facsimile, e-mail, .pst., text
13
     message, transmission, microfilm, microfiche, and/or photographic film of any type.
14
            5.       The words “all” and “any” mean “any and all”; and the word “including” means
15
     “including without limitation.”
16
            6.       “Identify each writing and its custodian” means to describe each writing with
17
     particularity sufficient to identify the same by subpoena duces tecum and state the name,
18
     address, telephone number and job title or position of the person having possession, custody or
19
     control thereof.
20
                                  DOCUMENTS TO BE PRODUCED
21
            1.       All documents and communications referencing or regarding any of the
22
     following:
23
                  a. Wear;
24
                  b. Wear investors, including Plaintiffs;
25

                                                                                   CORR CRONIN LLP
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 1
            c. Wear’s purported sale of machines to investors;
 2
            d. Loans to Wear and/or default of said loans;
 3
            e. Wear-related loan programs for investors;
 4
            f. Brokers for Wear investors;
 5
            g. Wear related depository or credit accounts or activity in those accounts;
 6
            h. Wear related bonds or proceeds thereof;
 7
            i. Wear’s financial condition or solvency; and
 8
            j. Wear’s business practices.
 9

10
                                PRESERVATION DEMAND
11
            WHETHER OR NOT SPECIFICALLY REQUESTED BY THE DOCUMENT
12
     REQUESTS OF THIS PARTICULAR SUBPOENA, DEMAND IS HEREBY MADE THAT
13
     YOU PRESERVE ALL RELEVANT AND POTENTIALLY RELEVANT DOCUMENTS,
14
       COMMUNICATIONS, AND ELECTRONICALLY STORED INFORMATION, AND
15
       THAT YOU NOT ALTER OR DESTROY ANY DEVICES OR DATA STORED ON
16
      DEVICES OR EQUIPMENT THAT COULD CONTAIN POTENTIALLY RELEVANT
17
        DOCUMENTS, COMMUNICATIONS, AND/OR ELECTRONICALLY STORED
18
     INFORMATION. NOTICE IS HEREBY GIVEN THAT THE ISSUING PARTY DEEMS
19
     SUCH MATERIAL AN INVALUABLE SOURCE OF EVIDENCE AND/OR OTHERWISE
20
      DISCOVERABLE INFORMATION IN THE ABOVE-REFERENCED ACTION. THE
21
         ISSUING PARTY HEREBY EXPRESSLY RESERVES THE RIGHT TO ISSUE
22
          ADDITIONAL SUBPOENAS FOR THE PRODUCTION OF ADDITIONAL
23
         DOCUMENTS, TESTIMONY, AND/OR DISCLOSURE OF DISCOVERABLE
24
      INFORMATION DURING THE PENDENCY OF THE ABOVE-REFERENCED CASE.
25

                                                                            CORR CRONIN LLP
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